                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )
       v.                                            )      Criminal Action No.
                                                     )      18-00293-01/12-CR-W-DGK
GERALD L. GINNINGS, et al.,                          )
                                                     )
                              Defendants.            )

                                 ORDER OF CONTINUANCE

       On December 12, 2018, the Grand Jury returned a superseding indictment charging the

defendant and 11 others with conspiracy to distribute methamphetamine, conspiracy to commit

money laundering, continuing a criminal enterprise, possess firearms with drug trafficking, and

felon possess firearm and ammunition, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) & 846,

18 U.S.C. §§1956(a)(1)(A)(i),(B)(i),(ii), & (h), 21 U.S.C. §§ 848(a)(b)(c) & (s), 18 U.S.C. §

924(c)(1)(A)(i) and 18 U.S.C. §§ 922(g)(1) & 924(a)(2), respectively. This criminal action is

currently set for trial on the joint criminal trial docket which commences October 28, 2019.

       On October 1, 2019, defendant Mainieri, by and through counsel, filed a motion for

continuance and suggestions in support thereof. The suggestions in support of the defendant's

motion for continuance state, in part, as follows:

               Amongst the other Defendants that are charged in the Indictment
               with Mr. Mainieri, most face identical or similar charges.
               Additionally, Defendant Trevor Sparks faces charges of
               Continuing Criminal Enterprise, in violation of 21 U.S.C. §
               848(a)(b)(c) & (s).



                                                 1




         Case 4:18-cr-00293-DGK Document 208 Filed 10/08/19 Page 1 of 5
    This matter is presently set for trial during the trial term that is set
    to commence on October 28, 2019.

    The discovery that has been disclosed to counsel thus far is
    massive. Thus far, over 85,000 pages of printed discovery have
    been produced, along with numerous non-printed items of
    discovery such as audio recordings. Due to the massive volume of
    discovery in this case, this Court has already entered an order
    declaring this case extended and complex (Doc. 126). Due to the
    massive amount of discovery in this matter, counsel requires
    significantly more time to review all discovery, discuss it with Mr.
    Mainieri, and determine how Mr. Mainieri wishes to proceed on
    this matter.

    Additionally, while counsel does not know the full criminal history
    of all other Defendants in this matter, he is aware that based on the
    nature of the charges in the Superseding Indictment, as well as
    prior convictions, if Mr. Mainieri were to proceed to trial and be
    convicted as charged, he would face a mandatory minimum
    sentence of twenty-five (25) years imprisonment. The significant
    prison exposure that Mr. Mainieri is facing if convicted at trial,
    coupled with the massive amount of information to review in this
    matter, both require counsel to have adequate time to thoroughly
    review evidence, investigate any necessary issues, and consult with
    his client regarding this case. It simply will not be possible to
    accomplish those tasks prior to the present trial setting.

    Counsel for Mr. Mainieri has been in communication with
    Assistant United States Attorney Bruce Rhoades regarding this
    request for a continuance, and Mr. Rhoades has represented to
    counsel that he has no objection to the request being made in this
    motion.

    Counsel has communicated with the attorneys for all other co-
    defendants in this matter to determine their position on this request
    for a continuance that is being filed by Mr. Mainieri. At this time,
    Defendants Trevor Sparks and Cory Taz-Dalton Hack object to
    this request for a continuance. The remaining Defendants have no
    objection, and are in agreement with the need to continue the trial
    in this matter to a later date.

    Mr. Mainieri has been consulted on this request, and has affirmed
    to undersigned counsel that he has no objection to this request for a
    continuance that is being sought on his behalf. The Defendant

                                        2




Case 4:18-cr-00293-DGK Document 208 Filed 10/08/19 Page 2 of 5
               further understands that due to the serious nature of these
               allegations, as well as the potential prison exposure that he could
               potentially face if convicted, far outweigh his right to a speedy trial
               under the circumstances of this case.

               Counsel believes that due to the complexity of this case, and the
               huge volume of discovery that must be reviewed in order to
               adequately protect the rights of his client, that a trial setting in
               August of 2020 or later would be realistic in this case.

       The Speedy Trial Act of 1974, as amended, mandates the commencement of the trial of a

defendant within 70 days from the defendant's first appearance before a judicial officer of the

Court in which the charge is pending. In computing the 70-day time period, the periods of delay

set forth in 18 U.S.C. ' 3161(h) are to be excluded. Any period of delay resulting from a

continuance granted at the request of a defendant is excludable if the Court finds the ends of

justice served by the taking of such action outweigh the best interest of the public and the

defendant in a speedy trial, provided the Court sets forth the reason for such finding.

       Section 3161(h)(7)(C) provides that a continuance shall not be granted because of general

congestion of the Court's calendar. In ordering this case removed from the joint criminal jury

trial docket which will commence October 28, 2019, and continuing the trial until the joint

criminal jury trial docket which will commence August 10, 2020, the Court is not doing so

because of congestion of its calendar.

       The Court finds that:

             1.      In light of the circumstances set out in the above-quoted portion of the
                     suggestions in support of the motion for continuance, it would be
                     unreasonable to expect defense counsel to prepare this criminal action
                     adequately for trial prior to August 10, 2020;

             2.      In light of the circumstances set out in the above-quoted portion of the
                     suggestions in support of the motion for continuance, failure to
                     remove this criminal action from the joint criminal jury trial docket

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         Case 4:18-cr-00293-DGK Document 208 Filed 10/08/19 Page 3 of 5
                         which will commence October 28, 2019, and grant a continuance
                         likely would result in a miscarriage of justice;

              3.         In light of the circumstances set out in the above-quoted portion of the
                         suggestions in support of the motion for continuance, failure to
                         remove this criminal action from the joint criminal jury trial docket
                         which will commence October 28, 2019, and grant a continuance
                         would deny defense counsel the reasonable time necessary for
                         effective preparation and thus would deny the defendant his right to
                         effective assistance of counsel; and

              4.         In light of the circumstances set out in the above-quoted portion of the
                         suggestions in support of the motion for continuance, the ends of
                         justice served by removing this criminal action from the joint criminal
                         jury trial docket which will commence October 28, 2019, and
                         granting a continuance outweigh the best interest of the public and the
                         defendant in a speedy trial.

      It is therefore,

      ORDERED that the motion for continuance of this criminal action filed by defendant

Ginnings on October 1, 2019 (Doc. No. 124), is GRANTED and that this criminal action is

removed from the joint criminal jury trial docket which will commence October 28, 2019. It is

further

      ORDERED that this criminal action is set for trial on the joint criminal jury trial docket

which will commence August 10, 2020. It is further

      ORDERED that the pretrial conference will be held on Thursday, July 23, 2020, at 1:30

p.m. in Courtroom 7E. It is further

      ORDERED that, pursuant to 18 U.S.C. ' 3161(h), the time between the date of this Order

and August 21, 2020, shall be excluded in computing the time within which the trial of this

criminal action must commence.




                                                    4




          Case 4:18-cr-00293-DGK Document 208 Filed 10/08/19 Page 4 of 5
                                           /s/ JOHN T. MAUGHMER
                                                JOHN T. MAUGHMER
                                            United States Magistrate Judge

Kansas City, Missouri




                                      5




        Case 4:18-cr-00293-DGK Document 208 Filed 10/08/19 Page 5 of 5
